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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Ernest Alston and Pamela Alston,          )
                                          )
              Plaintiff,                  ) ORDER SCHEDULING SETTLEMENT
                                          ) CONFERENCE
       vs.                                )
                                          )
EOG Resources, Inc, Wood Group            )
Production and Consulting Services, Inc., )
n/k/a Wood Group PSN, Inc., and           ) Case No. 1:19-cv-034
Rebecca Imes,                             )
                                          )
              Defendants.                 )
______________________________________________________________________________

       A settlement conference will be held before the magistrate judge on December 14, 2020, at

9:00 AM CST at the U.S. Courthouse located in Bismarck, North Dakota (courtroom #2).

       The conference shall be attended either in person or by video by all parties, together with

trial counsel for each party. An insured party need not attend unless the settlement decision will be

made in part by the insured. When the settlement decision may be made in whole or in part by an

insurer, the insurer shall send a representative. The persons attending shall be vested with the

necessary settlement authority. Any relief from these requirements must be obtained in advance.

Failure to produce the appropriate person(s) at the conference may result in an award of costs and

attorney fees incurred by the other parties in connection with the conference and/or other sanctions

against the noncomplying party and/or counsel.

       Each party shall submit a confidential settlement statement to the Court no later than two

days prior to the final settlement conference. The settlement statement shall not become a part of the



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file of the case, but shall be for the exclusive use of the Court in preparing for and conducting the

settlement conference.

        The settlement statement shall contain a specific recitation of the facts, a discussion of the

strengths and weaknesses of the case, the parties' positions on settlement, including a present

settlement proposal, and a report on settlement efforts to date. If not already part of the court file,

copies of any critical agreements, business records, photographs or other documents or exhibits shall

be attached to the settlement statement. The settlement statement should not be lengthy, but should

contain enough information to be useful to the Court in analyzing the factual and legal issues in the

case. The parties are directed to be candid in their statements.

        The parties shall submit their settlement statement to the court via fax (701-530-2325), e-

mail (ndd_J-Hochhalter@ndd.uscourts.gov), or mail (P.O. Box 670, Bismarck, North Dakota

58502-0670) at least two (2) days prior to the settlement conference. The settlement statement shall

not be filed with the Clerk's office. Copies of the settlement statement shall not be provided to the

other parties in the case.

        Counsel are directed to confer with their clients in advance of the conference to explore the

parties’ settlement positions, and the parties are encouraged to exchange settlement proposals prior

to the conference. These steps will enable the conference to progress more expeditiously.

        IT IS SO ORDERED.

        Dated this 19th day of October, 2020.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court

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